The Honorable Margaret Kelly, CPA Missouri State Auditor State Capitol Building Jefferson City, MO 65101
Dear Auditor Kelly:
You have submitted to us a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo Supp. 1997. The fiscal note summary which you have submitted is as follows:
    The costs of this proposal are approximately $11,000,000 per year and will be funded through an increase in state income taxes for some individuals by reducing the maximum federal income tax deduction those individuals may claim for purposes of determining state income tax liability.
See our Opinion Letter No. 111-98.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary. Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                             JEREMIAH W. (JAY) NIXON Attorney General